 

Case 3:04-cr-02091-KC Document 188 Filed 08/25/06 Page 1 of 4

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UNITED STATES DISTRICT COURT, “Up 5 £0
WESTERN DISTRICT OF TEXAS “S%:.,.. py

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UN ITED STATES OF AMERICA § |

§
v. a § CAUSE NO. EP-04-2091KC

§
FLORITA CEDRO TOLENTINO §

RESPONSE TO THE ORDER TO SHOW CAUSE
TO THE HONORABLE KATHLEEN CARDONE, UNITED STATES
DISTRICT JUDGE
COMES NOW Mervyn M. Mosbacker Jr. and files this response to the
Court’s Order to Show Cause.
1. On August 17, 2006 Defendant Florita Tolentino’s Proposed Voir
Dire Questions were filed with the Court.
2. On August 17, 2006 Defendant Florita Tolentino’s Motion in
Limine was filed with the Court.
3. On August 24, 2006 Defendant Florita Tolentino’s Proposed Jury
instructions were filed with the Court.
4. Defendant Florita Tolentino’s Trial Estimate was filed with the

Court together with this response.
 

 

Case 3:04-cr-02091-KC Document 188 Filed 08/25/06 Page 2 of 4

5. The Proposed Voir Dire and the Proposed Jury Instructions were

prepared for filing before the deadline of August 16, 2006, and in

fact were served upon the United States via fax on August 15, 2006.

Through mistake and inadvertence, they were not timely filed.

Defense counsel, Mervyn M. Mosbacker, Jr, sincerely apologizes to

the Court for this oversight. There was no intent by defense counsel

to avoid compliance.

6. Defense counsel intended to rely on the trial estimate of the

government and should have notified the Court of that fact. Filed

with this response is an estimate of the length of the Defendant

Florita Tolentino’s presentation of her defense, although that

estimate may change with the addition defense counsel.

7. Finally, defense counsel sincerely apologizes to the Court for

submission of the Proposed Jury Instructions after the date of

August 16, 2006. The presentation of the evidence by the

government and cross-examination of the witnesses could prompt

the need to submit additional proposed jury instructions, and

defense counsel respectfully requests the Court to allow such

additional filings.
 

Case 3:04-cr-02091-KC Document 188 Filed 08/25/06 Page 3 of 4

THEREFORE, defense counsel, Mervyn M. Mosbacker Jr. respectfully
requests that this Court accept this Reponse to the Court’s Order to Show
Cause and not impose sanctions.

Respectfully submitted,

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Mervyn MJ Mosbacker, Jr.

State Bar, No. 14564800

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Houston, Texas 77019
Telephone: (713) 529-4200
Facsimile: (713) 529-4211
 

 

Case 3:04-cr-02091-KC Document 188 Filed 08/25/06 Page 4 of 4

CERTIFICATE OF SERVICE

Thereby certify that a true and correct copy of this the Response
to the Order to Show Cause was sent via fax on August 25, 2006 to

Assistant U.S. Attorney J. deal lat

Mervyn M. Mosbacker, Jr.
